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IN THE UNITED STATES DISTRICT COURT NOV 6 2020
FOR THE EASTERN DISTRICT OF VIRGINIA |
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Newport News Division NOREO,. ier COURT
ROYCE SOLOMON, et al, individually
and on behalf of all others similarly situated,
Plaintiffs,
v. Civil Action No. 4:17¢ev145

AMERICAN WEB LOAN, INC., et al.,

Defendants.

ORDER

Plaintiffs Royce Solomon, Jodi Belleci, Michael Littlejohn, and Giulianna Lomaglio
(collectively “Plaintiffs”), individually and on behalf of the preliminarily certified Settlement
Class, filed (i) a Motion for Final Approval of Class Action Settlement (“Motion for Final
Approval”), Doc. 422; and (ii) a Motion for an Award of Attorneys’ Fees, Reimbursement of
Expenses, and Service Awards for the Settlement Class Representatives (“Motion for Attorneys’
Fees”), Doc. 424. For the reasons set forth below, Plaintiffs’ Motion for Final Approval, Doc. 422,
and Plaintiffs’ Motion for Attorneys’ Fees, Doc. 424, are DENIED.

BACKGROUND AND DISCUSSION

On April 16, 2020, Plaintiffs moved the Court for preliminary approval of a proposed class
action settlement with Defendants, the terms of which were set forth in a Settlement Agreement
filed with the Court on the same day. Doc. 413. The Court held a hearing on Plaintiffs’ motion
on June 24, 2020. Doc. 416. During the hearing, the Court expressed concerns regarding the
adequacy of the Settlement Agreement. Doc. 454. The Court stated: “at this stage of the

proceeding, all the Court can do is guess al the adequacy of the settlement.” Id. The Court further
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stated that the ultimate question of adequacy “will have to be dealt with in depth” at the final
approval hearing. Id.

On June 26, 2020, the Court issued an Order Granting Preliminary Approval of Class
Action Settlement (“Preliminary Approval Order”), in which the Court conditionally certified the
Settlement Class, appointed Plaintiffs as Settlement Class Representatives, appointed Settlement
Class Counsel, and preliminarily approved the terms of the Settlement Agreement. Doc. 419. The
Court also issued a Preliminary Settlement Approval Memorandum Opinion (“Memorandum
Opinion”) on June 26, 2020, which served to supplement the Court's findings it its Preliminary
Approval Order.' Doc. 420.

In its Memorandum Opinion, the Court explained that although counsel provided sufficient
information for the Court to find “preliminary adequacy” with respect to the Settlement
Agreement, the adequacy issue would be further analyzed during the final approval hearing. Id.
The Court ordered any Settlement Class Member who objected to the Settlkement Agreement to
file a written objection by September 21, 2020. Doc. 419.

Diana Butler, Charles P. McDaniel, Patrick Selig, Quincey Jean Cunningham. William
Farley, Brooke Herrington, Lakeita Kemp, and Adam Sublett (collectively the “Objectors”) filed
timely written objections to the Settlement Agreement, and Plaintiffs and certain Defendants filed

responses. Docs. 428, 430-437, 445, 449. The Court subsequently granted all parties leave to file

 

' The Court summarized the basic terms of the Settlement Agreement in its Memorandum Opinion. Doc. 420.
The Court stated: “The parties have agreed to settle the case in exchange for a total settlement value of $141 million,
comprised of a $65 million cash payment, $76 million in loan cancellation and other non-monetary relief.” Id, The
non-monetary benefits were described as follows: “(i) Curry shall leave the business of AWL in all managerial and
operational capacities on or before December 28. 2020, including resigning from his position as CEO and Director of
AWL on or before the date of the Preliminary Approval Order: (ii) AWL shall request that the credit reporting agency
Clarity Services delete any negative credit reporting information regarding loans set forth in the Collection Portfolio:
(iii) AWL shall not sell personal information obtained from any Settlement Class Member except as may be required
for debt collection; (iv) AWL shall disclose key loan terms including interest rates and payment schedules to
borrowers; and (v) AWL shall make other changes to its loan agreements to comply with federal law.” Id, (quoting
Doc. 414 at 11).

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supplemental briefing for consideration at the final approval hearing. Doc. 460. The Objectors
and Plaintiffs chose to file supplemental briefing. Docs. 465-469.

On November 4, 2020, the Court held a remote hearing to address Plaintiffs’ Motion for
Final Approval and Plaintiffs’ Motion for Attorneys’ Fees. During the hearing, the Court heard
from counsel regarding the arguments raised in the motions, the written objections, and the
supplemental briefing. Upon review of the parties’ briefs and oral arguments of counsel, and for
the reasons stated by the Court during the November 4, 2020 hearing, the Court finds that the
parties have not established the adequacy of the Settlement Agreement. For example, although
the Settlement Agreement provides for $76 million in loan cancellations, the Court finds that, due
to the nature of the specific loans to be cancelled via this provision, such loan cancellations hold
very little value. Likewise, the Court finds that certain non-monetary benefits, such as the
requirement for AWL to modify its loan agreements to comply with federal law, hold very little
value. For example, Plaintiffs’ counsel has outlined nonmonetary benefits which it alleges include
$300 million in value for the disclosure of Federal Laws of Disclosure, $260 million for not
requiring electronic payment from borrowers’ bank accounts, $108 million for deletion of negative
credit information and $33 million for agreeing not to sell credit information relating to borrowers.
This totals $701 million in alleged benefits to borrowers yet the Defendants claim to have collected
only $472 million in interest during the approximate ten (10) years of the class period.

Further, the Court finds that the approval of the Settlement Agreement could result in no
benefit to a significant number of Class Members. For example, under the terms of the Settlement
Agreement, certain Class Members would be required to release all claims against Defendants
without receiving any benefits in return. Additionally, the specific benefits to which many other

Class Members would be entitled remains entirely unclear. The Court considers this lawsuit to be
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a hornbook example of a case in which the plaintiffs may be entitled to damages on a class-wide
basis in an amount that is readily quantifiable. However, it does not appear that such potential
quantification has occurred in this action. In light of the Court’s decision regarding the inadequacy
of the Settlement Agreement, the Court further finds that Plaintiffs’ request for attorneys’ fees, as
set forth in their Motion for Attorneys’ Fees, are excessive. For these reasons, Plaintiffs’ Motion
for Final Approval, Doc. 422, and Plaintiffs’ Motion for Attorneys’ Fees, Doc. 424, are DENIED.

Despite the Court’s findings regarding the inadequacy of the Settlement Agreement, the
Court recognizes that the costs of trying this action could be extraordinary. During the November
4, 2020 hearing, the Court suggested that the parties participate in a mediation before United States
District Judge David J. Novak. No party raised an objection to mediation. Accordingly, the parties
are ORDERED to appear before Judge Novak for a mediation in December 2020. Counsel are
DIRECTED to obtain the available dates of the individuals who will attend the mediation, and
jointly contact Judge Novak’s chambers at (804) 916-2270, within three days from the date of
entry of this Order, to schedule the mediation. After the mediation is scheduled, Judge Novak will
provide additional instructions to the parties.

CONCLUSION

For the reasons set forth above, Plaintiffs’ Motion for Final Approval, Doc. 422, and
Plaintiffs’ Motion for Attorneys’ Fees, Doc. 424, are DENIED. ‘The parties are ORDERED to
appear before United States District Judge David J. Novak for a mediation in December 2020.
Counsel are DIRECTED to obtain the available dates of the individuals who will attend the
mediation, and jointly contact Judge Novak’s chambers at (804) 916-2270, within three days from
the date of entry of this Order, to schedule the mediation. After the mediation is scheduled, Judge

Novak will provide additional instructions to the parties.
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The Clerk is REQUESTED to electronically deliver a copy of this Order to all counsel of
record.

It is SO ORDERED.
/s/

Henry Coke Morgan, Jr.
Senior United States District Jedg

HENRY COKE MORGAN, JR.
SENIOR UNITED STATES DISTRICT JUDGE

 

November 6 , 2020
Norfolk, Virginia
